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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

        NOTICE OF ABANDONMENT (DAMAGED/OBSOLETE ROLLING STOCK)

       PLEASE TAKE NOTICE that, on August 6, 2023, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed voluntary petitions for relief under
chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532.

       PLEASE TAKE FURTHER NOTICE that, on September 14, 2023, the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) approved an Order
Approving Procedures for De Minimis Asset Transactions and Abandonment of De Minimis Assets
[Docket No. 551] (the “Transaction Procedures Order”), whereby the Bankruptcy Court authorized
the Debtors to use, sell, transfer, swap, or abandon certain non-core assets (collectively,
the “De Minimis Assets”).2

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Transaction Procedures
Order, the Debtors propose to abandon the De Minimis Assets set forth and described on Exhibit A
attached hereto, which exhibit also sets forth, where such information is readily available: (a) an
identification and description of, in reasonable detail, the De Minimis Assets to be abandoned,
including the estimated book value and appraised value of the assets being abandoned as reflected
in the Debtors’ books and records; (b) identification of the serial number and VIN for the
De Minimis Assets being abandoned; (c) the identification of the Debtor entity that directly owns
the De Minimis Assets; (d) any commissions or disposal costs to be paid to third parties in
connection with the abandonment thereof; (e) acquisition cost and date; (f) the Debtors’ reasons
for such abandonment; and (g) any fees or similar expenses to be paid in connection with such
abandonment, if applicable.3

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Transaction Procedures
Order, any recipient of this notice may object to the proposed transaction within seven (7) calendar

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      All capitalized words not defined herein have the meanings ascribed to them in the Motion of Debtors to Approve
      Procedures for De Minimis Asset Transactions and Abandonment of De Minimis Assets [Docket No. 360].
3
      The information may be provided in summary form or by attaching the applicable contract or contracts to the
      Abandonment Notice.



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days of service of this notice. Objections: (a) must be in writing; (b) set forth the name of the
objecting party; (c) provide the basis for the objection and the specific grounds therefor;
(d) be filed electronically with the Court, and (e) be served on (i) the Debtors, Yellow
Corporation, 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn.: General
Counsel; (ii) counsel to the Debtors, (A) Kirkland & Ellis LLP, 300 North LaSalle, Chicago,
Illinois, 60654, Attn.: Whitney Fogelberg (whitney.fogelberg@kirkland.com) and Kirkland &
Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Allyson B. Smith
(allyson.smith@kirkland.com) and (B) co-counsel to the Debtors, Pachulski Stang Ziehl & Jones
LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn:
Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns (tcairns@pszjlaw.com), Peter J.
Keane (pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii) the Office of
United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,
Wilmington, Delaware 19801, Attn.: Jane Leamy (jane.m.leamy@usdoj.gov) and Richard
Shepacarter (richard.shepacarter@usdoj.gov); and (iv) counsel to the Committee, (A) Akin Gump
Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New York, NY 10036-
6745 US, Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A. Lahaie
(mlahaie@akingump.com), and Kevin Zuzolo (kzuzolo@akingump.com) and (B) co-counsel to
the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313 North Market Street, Suite
1201, Wilmington, DE, 19801, Attn.: Jennifer R. Hoover (jhoover@beneschlaw.com) and Kevin
M. Capuzzi (kcapuzzi@beneschlaw.com), so as to be received on or before 4:00 p.m.,
prevailing Eastern Time on the seventh (7th) calendar day following service of this
Abandonment Notice.

      If you object, the Debtors may not abandon the De Minimis Assets unless you and the
Debtors consensually resolve the objection or upon further Bankruptcy Court order
approving the abandonment of such De Minimis Assets.




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